August 31, 2007


Mr. Charles Marcellus Vethan
Vethan Waldrop, PLLC
2909 Baldwin
Houston, TX 77006
Mr. S. Scott West
The West Law Firm
1600 Highway Six, Suite 450
Sugar Land, TX 77478

RE:   Case Number:  07-0394
      Court of Appeals Number:  01-05-00189-CV
      Trial Court Number:  2000-14641

Style:      S.E.A. LEASING, INC.
      v.
      JEFF STEELE AND MELISSA STEELE

Dear Counsel:

      Today the Supreme Court of Texas lifted  the  abatement  order  issued
August 17, 2007 and  reinstated  the  petition  for  review  in  the  above-
referenced case.
                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

|cc:|Ms. M. Karinne         |
|   |McCullough             |
|   |Mr. Charles Bacarisse  |

